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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 0:17cv60471

 GRIFFEN LEE,

        Plaintiff,

 v.

 CHARLES G. MCCARTHY, JR. d/b/a LAW
 OFFICE OF CHARLES G. MCCARTHY
 JR. & ASSOCIATES,

       Defendant.
 _________________________________________/

                         COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff GRIFFEN LEE (“Plaintiff”), by and through undersigned counsel, seeks redress

 for the illegal practices of Defendant CHARLES G. MCCARTHY, JR. d/b/a LAW OFFICE OF

 CHARLES G. MCCARTHY JR. & ASSOCIATES, (“MCCARTHY & ASSOCIATES”), to wit,

 for violations of § 1692e of the Fair Debt Collection Practices Act (the “FDCPA”) and § 559.553

 of the Florida Consumer Collection Practices Act (the “FCCPA”), and in support thereof, Plaintiff

 states the following:

                                       INTRODUCTION

        1.      To summarize, MCCARTHY & ASSOCIATES has dispatched thousands of

 consumer debt collection letters and ultimately collected monies from Florida consumers without




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 first obtaining a license1 to collect consumer debts in the State of Florida as mandated by § 559.553

 of the FCCPA.

          2.      On March 30, 2010, the Eleventh Circuit unequivocally pronounced that the failure

 to register oneself in the State of Florida as a “Consumer Collection Agency” constitutes a valid

 basis for an alleged violation of the FDCPA. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185

 (11th Cir. March 30, 2010) (“We therefore hold that a violation of the FCCPA for failure to register

 may, in fact, support a federal cause of action under Section 1692e(5) of the FDCPA for

 threatening to take an action it could not legally take.”).

          3.      Plaintiff maintains that MCCARTHY & ASSOCIATES’ actions are both illegal

 and unconscionable. See Fla. Stat. § 559.785 (stating that it is a criminal misdemeanor for “any

 person not exempt from registering to engage in collecting consumer debts in this state without

 first registering.”).

          4.      With respect to the “Congressional findings and declaration of purpose” portion of

 the FDCPA, The United States Congress has declared:

                  (a) Abusive practices

                  There is abundant evidence of the use of abusive, deceptive, and
                  unfair debt collection practices by many debt collectors. Abusive
                  debt collection practices contribute to the number of personal
                  bankruptcies, to marital instability, to the loss of jobs, and to
                  invasions of individual privacy.

                  (b) Inadequacy of laws

                  Existing laws and procedures for redressing these injuries are
                  inadequate to protect consumers.


 1
     The FCCPA utilizes the word register and/or registration. The term license and/or licensure
     utilized throughout this entire filing is intended to convey the same meaning as the FCCPA’s use
     of the term register and/or registration in Fla. Stat. § 559.553.

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 15 U.S.C. § 1692.

          5.     Accordingly, as set forth in more detail below, Plaintiff seek actual and statutory

 damages under the FDCPA for MCCARTHY & ASSOCIATES’ unlawful conduct.

                                      JURISDICTION AND VENUE

          6.     This Court has jurisdiction for all counts under 28 U.S.C. §§ 1331, 1337, 1367 and

 15 U.S.C. § 1692k.

          7.     Venue in this District is proper because Plaintiff reside here and Defendant does

 business in this District.

                                              PARTIES

          8.     Plaintiff is an individual and a citizen of the State of Florida, residing in Broward

 County, Florida.

          9.     MCCARTHY & ASSOCIATES is an individual and citizen of Illinois, residing at

 17W233 Wallace Road, Wheaton, Illinois.2

          10.    McCARTHY & ASSOCIATES is engaged in the collection debts with a principal

 place of business of 2100 Manchester Road Suite 1450, Wheaton, Illinois.3

          11.    MCCARTHY & ASSOCIATES engages in interstate commerce by regularly using

 telephone and mail in a business whose principal purpose is the collection of debts.


 2
     Attached hereto as Exhibit “A” is a copy of the Property Tax Payment Information for Parcel
     No. 04-25-203-008, wherein the Parcel Address and Billing Address are listed as the same, and
     “Charles G. McCarthy Jr.” is listed as the individual billed.
 3
     Attached hereto as Exhibit “B” is a copy of the Attorney Registration & Disciplinary
     Commission of the Supreme Court of Illinois’ (“ARDC”) Individual Attorney Record of Public
     Registration and Public Disciplinary and Disability Information Report, of which states, as of
     March 1, 2017, at 1:13:58 PM, “Charles Gerrard McCarthy, Jr.” has a “registered business
     address” of “Law Offices of Charles G. McCarthy, Jr., 2100 Manchester Road Suite 1450,
     Wheaton, IL 60187-4534.”

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        12.     At all times material, MCCARTHY & ASSOCIATES has been subject to the

 FCCPA. See In re Hathcock, 437 B.R. 696, 704 (Bankr. M.D. Fla. 2010) (“Unlike the FDCPA, the

 [FCCPA] applies not only to debt collectors but to any persons collecting a consumer debt.”

 (emphasis added)); See, e.g., Heard v. Mathis, 344 So. 2d 651, 654 (Fla. 1st DCA 1977) (holding

 the FCCPA applied to “a private individual making an oral, non-interest bearing loan to a friend.”);

 Schauer v. General Motors Acceptance Corp., 819 So. 2d 809, 812 n. 1 (Fla. 4th DCA 2002)

 (creditors are not exempt from FCCPA liability, whether it be direct or vicarious).

                                   FACTUAL ALLEGATIONS

        13.     The debt at issue (the “Consumer Debt”) is a financial obligation Plaintiff incurred

 primarily for personal, family, or household purposes.

        14.     The Consumer Debt is a “debt” governed by the FDCPA and FCCPA. See 15 U.S.C

 §1692a (5); Fla. Stat. §559.55(6).

        15.     Plaintiff is a “consumer” within the meaning of the FDCPA. See 15 U.S.C

 §1692a(3).

        16.     On a date better known by MCCARTHY & ASSOCIATES, it began attempting

 collect the Consumer Debts from Plaintiff.

        17.     On or about February 01, 2017, MCCARTHY & ASSOCIATES sent a collection

 letter to Plaintiff (the “Collection Letter”) in an attempt to collect the Consumer Debt. A copy of

 the Collection Letter is attached hereto as Exhibit “C.”

        18.     In the “Collection Letter,” MCCARTHY & ASSOCIATES identifies itself as a

 “debt collector.” See Collection Letter.

        19.     At no time has MCCARTHY & ASSOCIATES had the authority to collect, neither

 directly nor indirectly, any consumer debt in the State of Florida.

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        20.     MCCARTHY & ASSOCIATES collection activities against Plaintiff constituted a

 criminal misdemeanor under Florida law. See, Fla. Stat. § 559.785.

        21.     Florida law specifically and unequivocally states: [a]fter January 1, 1994, no

 person shall engage in business in this state as a consumer collection agency or continue to do

 business in this state as a consumer collection agency without first registering in accordance with

 this part, and thereafter maintaining a valid registration. Fla. Stat. § 559.553(1).

        22.     The FCCPA defines “consumer collection agency” as “any debt collector or

 business entity engaged in the business of soliciting consumer debts for collection or of collecting

 consumer debts, which debt collector or business is not expressly exempted as set forth in s.

 559.553(4).” Fla. Stat. § 559.55(7).

        23.     MCCARTHY & ASSOCIATES does not fall within any of the exemptions

 contained within Fla. Stat. § 559.553(4).

        24.     MCCARTHY & ASSOCIATES is a “consumer collection agency” as defined by

 the FCCPA because it is a debt collector or business entity that solicits consumer debts for

 collection.

        25.     The FCCPA regulates debt collectors “who use [] any instrumentality of commerce

 within this state, whether initiated from within or outside this state, in any business the principal

 purpose of which is the collection of debts, or who regularly collects or attempts to collect,

 directly or indirectly, debts owed or due or asserted to be owed or due another.” Fla. Stat.

 559.55(6) (emphasis added); see also, Collins v. Erin Capital Management, LLC, 290 F.R.D. 689,

 701 (S.D. Fla. Mar 21, 2013) (order certifying FDCPA class action consisting of “(i) all persons

 (ii) whom were the subject of collection activity from Erin Capital (iii) in an attempt to collect a

 debt incurred for personal, family, or household purposes (iv) who incurred actual damages in

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 the form of direct, indirect, voluntary, or involuntary payment arising from or attributable to

 Erin Capital's collection efforts (v) during the one year period prior to the filing of the original writ

 of garnishment in this action through the date of certification.” (emphasis added)).

         26.     Pursuant to Fla. Stat. § 559.553(1) and § 559.55(7), MCCARTHY &

 ASSOCIATES was required to be licensed as a consumer collection agency by the State of Florida.

         27.     Since the Eleventh Circuit’s holding in LeBlanc, at least two Judges in the Southern

 District of Florida have ruled that the filing of a lawsuit by an unlicensed debt collector violates

 the FDCPA. See Balthazor v. Security Credit Services, LLC, 2012 WL 171097, *3 (S.D. Fla., Jan.

 20, 2012) (Cohn, J.); Collins v. Erin Capital Management, LLC, Case No. 1:12-cv-22839-CMA

 (S.D. Fla. 2013) (Altonaga, J.) (Order dated Oct. 28, 2013).

         28.     Based upon an online license search last conducted on March 03, 2017, at the

 website maintained by the Florida Office of Financial Regulation, MCCARTHY & ASSOCIATES

 has never been licensed to collect consumer debts in the State of Florida.

         29.     Plaintiff maintains that MCCARTHY & ASSOCIATES’ unlicensed collection

 activity as being unlawful.

         30.     Defendant MCCARTHY & ASSOCIATES knew or should have known that it was

 not licensed as a Consumer Collection Agency yet Defendant never disclosed to any consumer

 that it was in fact a crime for MCCARTHY & ASSOCIATES to directly or indirectly collect upon

 the Consumer Debt.

         31.     The FDCPA has been construed by Federal Courts as a strict liability statute that is

 to be construed liberally so as to effectuate its remedial purpose. Russell v. Equifax A.R.S., 74

 F.3d 30, 33 (2d Cir. 1996).




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        32.     At all times relevant, at the time Defendant sent the Collection Letter to Plaintiff,

 there was no enforceable obligation to make the payment and/or the payment was excused due to

 the illegality on the part of MCCARTHY & ASSOCIATES’ collection efforts. See Fla. Stat. §

 559.785; see also, Fla. Stat. § 725.04 (abrogating defense of voluntary payment doctrine).

        33.     The FDCPA is not an exclusive remedy – it is a concurrent one; the statute reads,

 "…a State law is not inconsistent with this subchapter if the protection such law affords any

 consumer is greater than the protection provided by this subchapter." 15 U.S.C. § 1692n; Cliff v.

 Payco General American Credits, Inc., 363 F.3d 1113, 1128 fn. 11 (11th Cir. 2004) ("Without an

 express statement from the Secretary that the FDCPA is intended to be the only vehicle for

 protecting debtors from abusive and deceptive collection practices, we decline to hold that the

 Secretary implicitly intended to foreclose state law remedies.

        34.     The FDCPA affirmatively acknowledges that state law remedies may be pursued

 concurrent with FDCPA remedies.") (emphasis in original); see also, Fabricant v. Sears Roebuck,

 et al., 202 F.R.D. 310 (S.D. Fla. 2010) (certifying class based upon Truth in Lending Act as well

 as state law claim seeking disgorgement of funds)

        35.     Any potential bona fide error defense which relies upon MCCARTHY &

 ASSOCIATES’ mistaken interpretation of the legal duties imposed upon them by the FDCPA

 would fail as a matter of law. Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich, L.P.A., 130

 S.Ct. 1605, 176 L. Ed. 2d 519 (2010).

                                   COUNT I.
                   VIOLATION OF THE FDCPA, 15 U.S.C. § 1692e et seq.

        36.     Plaintiff incorporates the preceding Factual Allegations.




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        37.     MCCARTHY & ASSOCIATES is liable to Plaintiff for its attempt to collect the

 Consumer Debt while unlicensed.

        38.     MCCARTHY & ASSOCIATES’ failure to obtain a consumer debt collection

 license as mandated by Florida Statutes § 559.553, while actively engaging in debt collection in

 the State of Florida, violated 15 U.S.C § 1692e and e(10) because attempting to collect a debt

 while not licensed as required by Florida law is a false, deceptive, and misleading practice.

        39.     MCCARTHY & ASSOCIATES’ failure to obtain a consumer debt collection

 license as mandated by Florida Statutes § 559.553, while actively engaging in debt collection in

 the State of Florida, violated 15 U.S.C § 1692e(2)(A) because attempting to collect a debt and/or

 actually collecting a debt while not licensed as required by Florida law constitutes a false

 representation of the character and legal status of the debt.

        40.     MCCARTHY & ASSOCIATES’ failure to obtain a consumer debt collection

 license as mandated by Florida Statutes § 559.553, while actively engaging in debt collection in

 the State of Florida, violated 15 U.S.C § 1692e(5) because attempting to collect a debt and/or

 actually collecting a debt while not licensed as required by Florida law and claiming that it may

 collect money from a consumer is a threat to take action that cannot legally be taken. Moreover,

 actually collecting a debt while not licensed is also in violation of 15 U.S.C § 1692e(5).

                                  DEMAND FOR JURY TRIAL

        41.     Plaintiff respectfully demands a trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against

 Defendant, awarding Plaintiff the following relief:

        (a)     Statutory and actual damages, as provided under 15 U.S.C. §1692k;

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       (b)   Costs and reasonable attorneys’ fees as provided by 15 U.S.C. §1692k; and

       (c)   Such other or further relief as the Court deems proper.



 DATED: March 4, 2017

                                               Respectfully Submitted,

                                                /s/ Jibrael S. Hindi                     .
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                                                          AND

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